                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION

                               Civil Action No. 1:20-CV-41


 THOSE CERTAIN UNDERWRITERS
 AT LLOYD’S, LONDON, subscribing to
 Certificate No. 492252,

                 Plaintiffs,

 v.

 MEDICAL FUSION, LLC, a North
                                                        COMPLAINT FOR
 Carolina limited liability company;
                                                      DECLARATORY RELIEF
 SUPERIOR HEALTHCARE PHYSICAL
 MEDICINE OF HENDERSONVILLE,
 PC, a dissolved North Carolina
 professional corporation; JEFFREY G.
 HEDGES, D.C.; and ANDREW WELLS,
 D.C.;

                 Defendants.


       NOW COMES Those Certain Underwriters at Lloyd’s, London, subscribing to
Certificate No. 492252, by and through undersigned counsel, complaining of Medical
Fusion, LLC, Superior Healthcare Physical Medicine of Hendersonville, PC, Jeffrey
G. Hedges, D.C., and Andrew Wells, D.C., and aver and allege as follows:

                               NATURE OF THE ACTION

1.      In this action, Those Certain Underwriters at Lloyd’s, London, subscribing to
        Certificate No. 492252 (“Plaintiffs” or “Underwriters”) seek a declaration from
        this Court pursuant to 28 U.S.C. § 2201 et seq., of the rights and obligations of
        the parties to the Certificate (“the Policy”), and those claiming benefits from
        the Policy.

2.      Specifically, Underwriters seek a declaration from this Court that there is no
        coverage under the Policy for defense or indemnity or, in the alternative, that
        Underwriters have the right to (a) rescind the Policy based on material and
        fraudulent misrepresentations made by the applicant; and/or (b) this Court
        should declare this Policy forfeited by the Insureds pursuant to the Forfeiture

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       Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 1 of 19
     Clause of the Policy; and/or (c) this Court should declare the Policy null and
     void ab initio based on breach of the Warranty Clause.

                                   PARTIES

3.   Underwriters are comprised of unincorporated associations of companies—i.e.,
     syndicates—authorized to underwrite insurance at Lloyd’s London. All of the
     syndicates subscribing to the insurance certificate at issue in this action are
     incorporated under the laws of England and Wales in the United Kingdom of
     Great Britain and Northern Ireland, and have their principal place of business
     in London, England, and have as members solely corporate entities.

4.   Defendant Jeffrey G. Hedges (“Dr. Hedges”) is a licensed or formerly licensed
     chiropractor in the State of North Carolina, and has been since on or around
     28 July 2012. Upon information and belief, Dr. Hedges is a resident of
     Buncombe County, North Carolina.

5.   Defendant Andrew Wells (“Dr. Wells”) is a licensed or formerly licensed
     chiropractor in North Carolina, and has been since on or around 23 April 2011.
     Upon information and belief, Dr. Wells is a resident of Buncombe County,
     North Carolina.

6.   Defendant Medical Fusion, LLC (“Medical Fusion”) is a North Carolina
     company formed by Dr. Hedges on or about 5 February 2015. Its principal
     office is located in Henderson County, North Carolina. Upon information and
     belief, Medical Fusion is, and at all relevant times has been, owned and
     operated by Dr. Hedges and Dr. Wells, either directly or through alter ego
     entities.

7.   Defendant Superior Healthcare Physical Medicine of Hendersonville, PC
     (“Superior-Hendersonville”) was an integrated medical-chiropractic practice
     located in Henderson County, North Carolina. It was incorporated on or about
     10 December 2015, and was operated by Dr. Hedges, Dr. Wells, and Medical
     Fusion, until its dissolution on or about 18 December 2018.

                     JURISDICTIONAL ALLEGATIONS

8.   There is complete diversity of citizenship between the parties. The
     Underwriters are subjects of the United Kingdom of Great Britain and
     Northern Ireland. None of the Underwriters are residing or domiciled within
     the United States. Defendants are citizens of the State of North Carolina.

9.   Defendants seek coverage under an insurance policy underwritten by the
     Underwriters for which there is one million dollars ($1,000,000.00) per claim
     in potential coverage available, and two million dollars ($2,000,000.00) in the
     aggregate. The Underwriters seek a declaration on the rights of the parties,
     and those who might seek to be parties, to that policy. Thus, the amount in

                                   2
     Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 2 of 19
      controversy is in excess of seventy-five thousand dollars ($75,000.00), exclusive
      of interest and costs.

10.   As such, this Court has jurisdiction over this matter pursuant to 28 U.S.C.
      § 1332, and Plaintiff seeks relief under Fed. R. Civ. P. 57 and 28 U.S.C. § 2201
      et seq.

11.   Pursuant to 28 U.S.C. § 1391(b)(1)-(2), venue in this judicial district is proper
      because: (1) one or more of the defendants reside therein; and (2) a substantial
      part of the events and/or omissions giving rise to the claim occurred therein.

                           FACTUAL ALLEGATIONS

      I.    The e-MD®/MEDEFENSE® Plus Policy Application

12.   In an application dated 3 December 2016, Superior-Hendersonville, by and
      through its (nominal) owner, applied for e-MD®/MEDEFENSE® Plus claims-
      made coverage from Underwriters (the “Application”). A true and accurate
      copy of the Application is appended hereto as part of Exhibit 1, which is the
      Policy issued by the Underwriters, and incorporated by reference as if fully set
      forth herein.

13.   The Application form expressly states to prospective applicants, inter alia:
      “The particulars, representations and statements contained in this Application
      and any other information submitted are the basis for the proposed insurance
      and will be considered as incorporated into, and constituting part of, the
      proposed certificate and/or policy.”

14.   In the Application, Superior-Hendersonville represented that twenty to
      twenty-five percent (20-25%) of its annual projected billings will be
      attributable to Medicare patients, and that 0% of its annual projected billings
      will be attributable to Medicaid. See, Application, ¶ 7(b)-(c). Superior-
      Hendersonville goes on to represent that its “Medicare/Medicaid billings” for
      the current year (i.e., 2016) was six hundred thousand dollars ($600,000.00).

15.   As to billing compliance measures, Superior-Hendersonville represented in
      the Application that (i) it had a billing compliance program in place from its
      inception (i.e., March 2016); (ii) it utilized 1 credentialed staff to perform
      billing procedures; (iii) it was using a current edition of the CPT manual; (iv);
      that it had an attorney and auditor in charge of billing compliance; and (v)
      that it had billing reviews performed quarterly by a medical doctor. See,
      Application, ¶¶ 9-15.

16.   As to its loss history, Superior-Hendersonville represented in the Application
      that (i) it or any member of its staff, or any person or entity for whom it
      performs billing services, had not “[b]een investigated or sanctioned by any
      local, state or federal government agency or private (commercial) payer

                                    3
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 3 of 19
      regarding the delivery of health care services or reimbursement thereof…”; (ii)
      had not “[b]een… [a]udited or investigated with regard to
      Medicare/Medicaid          billing     practices      or    utilization     of
      Medicare/Medicaid services”; (iii) “[b]een accused of billing errors by
      any local, state or federal government agency or private (commercial)
      payer…”; and (iv) “…had never “Been aware of any facts, circumstances,
      situations, events or incidents that could result in regulatory action,
      regulatory investigation or demand for restitution.” See, Application, ¶
      25, ¶ 27(a); ¶ 31; ¶ 35. (Emphasis added.)

17.   By its representative’s signature, Superior-Hendersonville declared, inter alia,
      that “the statements herein are true and correct…” and “[t]he undersigned
      agrees that in the event this Application contains misrepresentations or fails
      to state facts materially affecting the risk assumed by the insurer, any
      insurance issued shall be void in its entirety.” See, Application, § 5, ¶ 1, ¶ 3.

      II.   The e-MD®/MEDEFENSE® Plus Policy

18.   Based on the representations made by the Named Insured, Superior-
      Hendersonville in the Application, Underwriters issued the e-
      MD®/MEDEFENSE® Plus Coverage, Certificate No. 492252 (“the Policy”) to
      Superior-Hendersonville with a policy period commencing on 11 January 2017
      and concluding on 11 January 2018. See, Exhibit 1.

19.   Medical Fusion is an Additional Insured on the Policy, subject to the provisions
      and limitations identified fully in the Policy, and summarized infra.

20.   Dr. Hedges is not an Additional Insured on the Policy.

21.   Dr. Wells is not an Additional Insured on the Policy.

22.   On 23 March 2016, Dr. Venus Pitts instituted a qui tam action on behalf of
      the United States of America (“the Government”) in the United States District
      Court for the Eastern District of North Carolina, Western Division (the “U.S.
      District Court”) under caption number 5:16-CV-127-BO, alleging violations of
      the False Claims Act (31 U.S.C. § 3729, et seq.) and other related claims
      sounding in fraud against: (1) Dr. Hedges, individually as the owner of Adio
      Management Company, Inc., and as a co-owner of Action Potential
      Management, LLC; (2) Dr. Wells, individually and as a co-owner of Action
      Potential Management, LLC; and (3) Zachary D. Scott, D.C., individually and
      as the owner of WHPH Management, Inc.

23.   The Underwriters received notice of the above-identified qui tam action on or
      around 22 September 2017. By letter dated on or around 7 September 2017,
      NAS Insurance Services—acting on behalf of the Underwriters—reserved the
      Underwriters’ rights under the Policy.


                                    4
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 4 of 19
24.   On 6 December 2018, the United States of America ex rel. Dr. Venus Pitts
      (“Government”) filed its Complaint in Intervention (“the Intervention
      Complaint”) in the U.S. District Court at Docket Entry No. 48 under caption
      number 5:16-CV-127-BO, amending the pleadings, but continuing to allege
      violations of the False Claims Act and other related claims sounding in fraud
      against Dr. Hedges, Dr. Wells, Zachary D. Scott, Adio Management Company,
      Inc., Action Potential Management, LLC, WHPH Management, Inc., Medical
      Fusion, and WH Healthcare.

25.   The Intervention Complaint was initially filed under seal, but has been since
      unsealed by the U.S. District Court. A true and accurate copy of the
      Intervention Complaint is appended hereto as Exhibit 2 and incorporated by
      reference as if fully set forth and realleged herein.

26.   By letter dated 14 January 2020, the Underwriters, through their counsel,
      advised counsel for Superior-Hendersonville, Medical Fusion, Dr. Hedges, and
      Dr. Wells that they were denying coverage under the Policy based on the
      allegations contained in the Intervention Complaint. A true and accurate copy
      of said letter is appended hereto as Exhibit 3 and incorporated by reference
      as if fully set forth herein.

27.   Notwithstanding the denial of coverage, subject to reservations of rights,
      Underwriters are continuing to pay defense costs under the Policy pending
      further developments.

      III.   Summary of the Intervention Complaint

28.   The Government alleges in the Intervention Complaint that Dr. Hedges, Dr.
      Wells, and Medical Fusion systematically defrauded Medicare by repeatedly
      and knowingly causing the submission of false claims and the creation of false
      statements or records at Superior-Hendersonville. See, e.g., Intervention
      Complaint, ¶ 279.

29.   The Named Insured, Superior-Hendersonville, is not a defendant in the
      Intervention Complaint.

30.   Specifically, the Government alleges that the false claims, statements, and
      records created and presented for payment by Medical Fusion, Dr. Hedges
      and/or Dr. Wells included: (1) improper billing under the National Provider
      Identification (“NPI”) numbers of medical practitioners who were rarely on-
      site; or who in certain instances were not even employed by Superior-
      Hendersonville at times that said services were billed under their NPI
      numbers; and (2) improper billing under Modifier -25.1



1The Government describes the billing requirements of Medicare in the Intervention
Complaint at ¶¶ 68-92, including the meaning of “Modifier -25” at ¶ 90.
                                        5
     Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 5 of 19
31.   The Intervention Complaint alleges a longstanding pattern and practice of
      knowing, intentional Medicare fraud committed by Dr. Hedges, Dr. Wells, and
      their management companies, one of which is Medical Fusion.

            A.     Superior-Durham allegedly committed Medicare fraud.

32.   The alleged fraud by Dr. Hedges began at an integrated medical-chiropractic
      office in Durham, North Carolina, called Superior Healthcare Physical
      Medicine, PC, (“Superior-Durham”). See generally, Intervention Complaint,
      ¶¶ 99-152, ¶¶ 269-280, ¶¶ 348-517.

33.   The Intervention Complaint alleges Dr. Hedges recruited a physician, Dr.
      Pitts, to “supervise the mid-level practitioners” who would be actually
      performing procedures at Superior-Durham. See, id., ¶ 106.

34.   According to the Government, Dr. Hedges executed a physician employment
      agreement with Dr. Pitts on behalf of Superior-Durham as its president on 28
      March 2013. See, id., ¶¶ 112-13.

35.   Dr. Hedges created a management company, ADIO Management, which also
      on 28 March 2013, executed a management services agreement with Superior-
      Durham, with Dr. Pitts then signing on behalf of Superior Durham, and with
      Dr. Hedges signing on behalf of ADIO Management. See, id., ¶¶ 120-21.

36.   As a result of that agreement, according to the Intervention Complaint, Dr.
      Hedges’ management company (ADIO Management) gained exclusive rights to
      and responsibility to provide “billing and collection services for all fees payable
      with respect to Superior-Durham’s provision of professional medical services,
      equipment, devices, and supplies to Patients of the Practice.” See, id., ¶ 121.

37.   The Government alleges that Hedges and ADIO Management seized control of
      Superior-Durham’s billings, including its billing of claims to Medicare. See,
      id., ¶ 123.

38.   The Intervention Complaint alleges that “Superior-Durham began seeing
      patients in July 2013.” Id., ¶ 348.

39.   The Government also alleges that Hedges “knew that Dr. Pitts was not treating
      any patients [at Superior-Durham],” Id., ¶ 359. “Nevertheless, medical
      services provided by mid-level practitioners at Superior-Durham were
      repeatedly… billed under Dr. Pitts’ NPI.” Id., ¶ 361.

40.   The Government alleges that, “[o]ver the course of Superior-Durham’s
      operation, Hedges… systematically defrauded Medicare by repeatedly and
      knowingly causing the submission of false claims and the creation of false
      statements of records at Superior-Durham, and by knowingly failing to repay
      the ill-gotten Medicare reimbursements.” Id., ¶ 349.

                                    6
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 6 of 19
41.   The Government outlines at ¶ 350 of the Intervention Complaint “[t]he false
      claims, statements, and records at Superior-Durham” that it alleges were
      perpetrated by Hedges and his management company as:

      a.    “Improper billing for incident-to services…”

      b.    “Improper billing for nerve block injections…”

      c.    “Improper billing for evaluation and management services…”

      d.    “Improper billing under Modifier -25…”

      e.    “Improper billing for durable medical equipment…”

42.   The fraudulent actions alleged by the Government against Hedges and Wells
      and their management company, as they pertain to Superior-Durham,
      occurred prior to the commencement of the Policy Period at bar, 11 January
      2017.

            B.     Superior-Asheville allegedly committed Medicare fraud.

43.   According to the Government, in 2014, Dr. Hedges recruited Dr. Wells to
      operate a similar practice in Asheville (“Superior-Asheville”). See, id., ¶ 156.

44.   Action Potential Management was incorporated in North Carolina on or about
      20 August 2014, and was owned and operated by Dr. Hedges and/or Dr. Wells.
      See, id., ¶ 12.

45.   “Just as Hedges and ADIO Management did with Superior-Durham, Wells and
      Action Potential Management quickly seized control of Superior-Asheville’s
      billing.” Id., ¶ 161. See generally, id., ¶¶ 153-203, ¶¶ 518-591.

46.   Billing claims to Medicare was among the Superior-Asheville billing services
      the Government alleges were seized by Wells and Action Potential
      Management. See, id., ¶ 170.

47.   The Intervention Complaint alleges that “Superior-Asheville began seeing
      patients around September 2014.” Id., ¶ 518.

48.   The Government also alleges that Hedges “knew that Pitts was rarely, if ever,
      physically present at Superior-Asheville,” id., ¶ 527, and that “Wells and
      Hedges knew that Dr. Pitts was not treating any patients at Superior-
      Asheville,” id., ¶ 528.

49.   “Nevertheless, medical services provided by mid-level practitioners at
      Superior-Asheville were repeatedly… billed under Dr. Pitts’ NPI.” Id., ¶ 605.



                                    7
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 7 of 19
50.   The Government alleges that, “[o]ver the course of Superior-Asheville’s
      operation, Hedges… [and] Wells… systematically defrauded Medicare by
      repeatedly and knowingly causing the submission of false claims and the
      creation of false statements or records at Superior-Asheville, and by knowingly
      failing to repay the ill-gotten Medicare reimbursements.” Id., ¶ 519.

51.   The Government outlines at ¶ 520 of the Intervention Complaint “[t]he false
      claims, statements, and records at Superior-Asheville” that it alleges were
      perpetrated by Hedges, Wells, and their management company as:

      a.    “Improper billing for incident-to services…”

      b.    “Improper billing for evaluation and management services…”

      c.    “Improper billing under Modifier -25…”

      d.    “Improper billing for trigger point injections…”

52.   The fraudulent actions alleged by the Government against Hedges, Wells, and
      their management company, as it pertains to Superior-Asheville, occurred
      prior to the commencement of the Policy Period at bar, 11 January 2017.

            C.     Superior-North Hills allegedly committed Medicare fraud.

53.   The Government alleges that, in 2014, Dr. Hedges also formed a similar
      practice in Raleigh, North Carolina at a location the Government identifies as
      “Superior-North Hills.” See generally, id., ¶¶ 204-268, ¶¶ 592-643.

54.   The Government alleges that Dr. Hedges, Dr. Wells, and another individual
      formed a company called Professional Business Cent$ on or around 2
      September 2014 “to provide billing services” to Superior-North Hills. See, id.,
      ¶ 253, ¶¶ 258-59.

55.   Among the services allegedly provided by Professional Business Cent$ were
      billing services to Medicare. See, id., ¶ 263.

56.   The Intervention Complaint alleges that “Superior-North Hills began seeing
      patients around October 2014.” Id., ¶ 592.

57.   The Government also alleges that “Hedges… knew that Dr. Pitts was not
      treating any patients at Superior-North Hills,” and that she was “rarely, if
      ever, physically present at Superior-North Hills.” Id., ¶ 601-02. “Nevertheless,
      medical services provided by mid-level practitioners at Superior-North Hills
      were repeatedly… billed under Dr. Pitts’ NPI.” Id., ¶ 605.

58.   The Government alleges that “[o]ver the course of Superior-North Hills’
      operation, Hedges… systematically defrauded Medicare by repeatedly and
      knowingly causing the submission of false claims and the creation of false
                                    8
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 8 of 19
      statements or records at Superior-North Hills, and by knowingly failing to
      repay the ill-gotten Medicare reimbursements.” Id., ¶ 593.

59.   The Government outlines at ¶ 594 of the Intervention Complaint “[t]he false
      claims, statements, and records at Superior-North Hills” that it alleges were
      perpetrated by Hedges:

      a.    “Improper billing for incident-to services…”

      b.    “Improper billing under Modifier -25…”

60.   The fraudulent actions alleged by the Government against Hedges and his
      management company, as it pertains to Superior-North Hills, occurred prior
      to the commencement of the Policy Period at bar, 11 January 2017.

            D.     Medicare Audits at the “Original Superiors.”

61.   On or around 1 December 2015, Dr. Hedges allegedly indicated to Dr. Pitts
      that Superior-Asheville “passed” a third-party audit. See, id., ¶ 272. “In
      reality,” the Government maintains, “the third-party audit of Superior-
      Ashville… resulted in a 36-page report identifying 19 separate items that
      needed improvement.” Id., ¶ 273.

62.   On 2 December 2015, “Medicare [allegedly] conducted an on-site audit of
      Superior-Durham as part of an on-going administrative investigation into the
      practice’s systematic abuse of certain CPT codes [in its billing].” Id., ¶ 273.

63.   Thereafter, Medicare also allegedly audited Superior Asheville and Superior-
      North Hills. See, id., ¶ 274.

64.   The Intervention Complaint alleges that “[n]early every claim that Medicare
      reviewed at the Original Superiors [i.e., Superior-Durham, Superior-Asheville,
      and Superior-North Hills] was deemed improper for one or more reasons.” Id.,
      ¶ 275. (Hereinafter, just as in the Intervention Complaint, the term “Original
      Superiors” will be used to collectively refer to Superior-Durham, Superior-
      Ashville, and Superior North Hills.)

65.   The alleged Medicare audits at the Original Superiors, and the results of each
      and every one of those audits, were concluded prior to the commencement of
      the Policy Period at bar, 11 January 2017.

            E.   Superior-Hendersonville and Superior-Rehab allegedly commit
            Medicare fraud.

66.   According to the Government, the alleged fraud continued after the December
      2015 Medicare audits of the Original Superiors, shifting to Superior
      Hendersonville and Superior Rehab under the same organizational model. See
      generally, id., ¶¶ 286-347, ¶¶ 644-90.
                                    9
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 9 of 19
67.   According to the Intervention Complaint, in late 2015, Dr. Hedges and Dr.
      Wells began recruiting a physician, Dr. Zickerman, to serve as medical director
      for an integrated medical-chiropractic office in Hendersonville, North
      Carolina—which would eventually become Superior Hendersonville. See, id.,
      ¶ 286.

68.   The Government alleges that, in late 2015, Superior-Hendersonville entered
      into a management services agreement with Medical Fusion “to provide billing
      and collection services for all fees payable to Superior-Hendersonville’s
      provision of medical services…”. See, id., ¶ 287, ¶ 289. As alleged above,
      Medical Fusion was yet another management company owned and operated by
      Dr. Hedges and Dr. Wells.

69.   After recruiting Dr. Zickerman to serve as medical director, the Government
      alleges said physician signed the management services agreement on Superior-
      Hendersonville’s behalf, with Dr. Wells signing on behalf of Medical Fusion.
      See, id., ¶ 288.

70.   According to the Government, “Hedges and Wells also recruited Dr. Zickerman
      to serve as the medical director of a new integrated medical-chiropractic
      practice in Asheville, North Carolina,” which is identified in the Intervention
      Complaint as Superior-Hendersonville. See, id., ¶ 314.

71.   The Government alleges that “following their practice with the Original
      Superiors, Hedges and Wells, along with their management company, quickly
      seized control of Superior-Hendersonville’s billing,” in late 2015. Id., ¶¶ 286-
      287.

72.   The Government alleges that the entity used by Hedges and Wells to seize
      control of Superior-Hendersonville’s billing, including its billing of claims to
      Medicare, was Medical Fusion. See, id., ¶ 287, ¶ 291.

73.   The Intervention Complaint alleges that “Superior-Hendersonville and
      Superior-Rehab began seeing patients around early- to mid-2016.” Id., ¶ 644.

74.   The Government alleges that “Hedges, Wells, WH Healthcare, and Medical
      Fusion knew that Dr. Zickerman was rarely, if ever, physically present at
      Superior-Rehab and Superior-Hendersonville,” and that he was not “treating
      any patients at Superior-Rehab and Superior Hendersonville.” Id., ¶¶ 653-54.
      “Nevertheless, medical services provided by mid-level practitioners at
      Superior-Rehab and Superior-Hendersonville were repeatedly billed to
      Medicare under Dr. Zickerman’s NPI.” Id., ¶ 656.

75.   According to the Government, this conduct continued “after Dr. Zickerman
      resigned from Superior-Hendersonville and Superior-Rehab…” Id., ¶ 657. In
      other words, Medical Fusion continued to submit billings on behalf of


                                    10
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 10 of 19
      Superior-Hendersonville under Dr. Zickerman’s NPI even when he was
      no longer affiliated with Superior Hendersonville.

76.   The Government alleges that, “[d]espite third-party audit reports, legal advice,
      guidance from billing personnel, Medicare investigations of the Original
      Superiors, and a change of medical practitioners and billing personnel, the
      endemic false billing that plagued the Durham, Asheville, and North Hills
      practices continued largely unabated at Superior-Hendersonville and
      Superior-Rehab.” Id., ¶ 645.

77.   The Government further alleges that “[o]ver the course of Superior-
      Hendersonville’s and Superior-Rehab’s operation, Hedges, Wells, Medical
      Fusion, and WH Healthcare systematically defrauded Medicare by repeatedly
      and knowingly causing the submission of false claims and the creation of false
      statements or records at Superior-Hendersonville and Superior-Rehab, and by
      knowingly failing to repay the ill-gotten Medicare reimbursements.” Id., ¶ 646.

78.   The Government outlines at ¶ 647 of the Intervention Complaint “[t]he false
      claims, statements, and records at Superior-Hendersonville and Superior-
      Rehab” that it alleges were perpetrated by Hedges, Wells, and Medical Fusion:

      a.    “Improper billing under the NPI of medical practitioners who were no
            longer employed by the practices (including improper billing for
            incident-to services)…and”

      b.    “Improper billing under Modifier -25…”

79.   The Government charges that “Hedges, Wells, WH Healthcare, and Medical
      Fusion knowingly caused Superior-Hendersonville and Superior-Rehab to
      improperly bill Medicare under Dr. Zickerman’s NPI.” Id., ¶ 658.

80.   The fraudulent actions alleged by the Government against Hedges, Wells, WH
      Healthcare, and Medical Fusion as it pertains to Superior-Hendersonville and
      Superior-Rehab, occurred prior to the commencement of the Policy Period at
      bar, on 11 January 2017.

81.   Superior-Hendersonville is not named as a defendant in the Intervention
      Complaint, and there is no relief sought against Superior-Hendersonville.

                         FIRST CLAIM FOR RELIEF
               28 U.S.C. § 2201 et seq.—Declaratory Judgment
                          (Declination of Coverage)

82.   The previous allegations are realleged and incorporated as if fully set forth
      herein.

83.   Underwriters seek relief pursuant to 28 U.S.C. § 2201 et seq.

                                    11
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 11 of 19
84.   An actual case or controversy exists between the parties concerning the
      respective rights of the parties to the Policy, and those who seek coverage
      under the Policy.

85.   Underwriters are parties to, and thus persons interested in, the construction
      of the provisions of the Policy. Underwriters have joined all known interested
      parties.

86.   Underwriters are entitled to a declaration from this Honorable Court that the
      factual allegations contained in the Intervention Complaint do not trigger a
      duty to defend or indemnify the Defendants under the Policy, or otherwise
      trigger any coverage thereunder.

      I.      Medical Fusion, Dr. Hedges, and Dr. Wells are Not Insureds

87.   Section 6 of the Policy provides the following definition of an “Insured”:

      6.      Who is Insured

      a.      The Named Insured;

      b.      Any Subsidiary of the Named Insured, but only with respect to wrongful acts
              or first party insured events that occur while a Subsidiary is owned by the
              Named Insured;

      c.      Any past, present, or future executive, trustee, physician or employee of the
              Named Insured or Subsidiary, but only while acting solely within the scope of
              his or her duties as such;

      d.      In the event that the Named Insured or Subsidiary is a partnership, limited
              liability partnership, or limited liability company, then any general or managing
              partner, principal, stockholder, or owner thereof, but only while acting solely
              within the scope of his or her duties as such;

      e.      Any agent or independent contractor of the Named Insured or Subsidiary, but
              only while acting on behalf of, at the direction of, and under the supervision of the
              Named Insured or Subsidiary; and

      f.      Any person or legal entity the Named Insured is required by written contract to
              provide such coverage as is afforded by this Policy, but only for the acts of a party
              described in paragraph a, b. or c. above, and only if the written contract is executed
              prior to the date any wrongful act or first party insured event occurs.

88.   Section 6 is modified by Endorsement No. 3 of the Policy, which provides:

      In consideration of the premium charged, and subject to the Retroactive Date(s) indicated
      below, it is hereby understood and agreed that Section 6. Who is Insured of [the] Policy
      is amended to include the person(s) or organization(s) named in the following Schedule of
      Additional Insureds, but only while acting solely on behalf of, or at the direction of, the
      Named Insured.


                                    12
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 12 of 19
              Schedule of Additional Insureds         Retroactive Date

              1. Medical Fusion                       None. Unknown prior acts are covered.


[Emphasis in underscore added.]

89.   At all times alleged in the Intervention Complaint, Medical Fusion, Dr.
      Hedges, and Dr. Wells were acting at their own direction, and/or on their own
      behalf, and in their own self-interest.

90.   The Named Insured, Superior-Hendersonville, is not even named as a
      defendant in the Intervention Complaint.

91.   Moreover, the Government’s Intervention Complaint sets forth allegations in
      great detail that Superior-Hendersonville was nothing more than a front for
      Dr. Hedges and Dr. Wells to profit off their alleged Medicare fraud.

92.   The Government alleges that Medical Fusion effectively controlled and owned
      Superior-Hendersonville and Dr. Hedges and Dr. Wells controlled and owned
      Medical Fusion.

93.   Accordingly, the relationship between Superior-Hendersonville and Dr.
      Hedges, Dr. Wells, and Medical Fusion is the inverse of what the Policy
      contemplates for Medical Fusion to be qualified as an “Insured” or “Additional
      Insured” —i.e., Dr. Hedges. Dr. Wells, and Medical Fusion were not acting “. .
      . solely on behalf of, or at the direction of the Named Insured” (Superior-
      Hendersonville); instead, the Government alleges that Superior-
      Hendersonville was being operated “on behalf of” and “at the direction of” Dr.
      Hedges, Dr. Wells, and/or Medical Fusion.

94.   Based on the allegations of the Intervention Complaint, Dr. Hedges, Dr. Wells,
      and Medical Fusion therefore do not meet the definition of an “Insured” under
      the Policy or an “Additional Insured” under Endorsement No. 3 of the Policy.

      II.   There Is No Coverage for Medical Fusion, Dr. Hedges, and Dr.
      Wells, Even If they Were Considered to be Insureds under the Policy,
      Because They Had Prior Knowledge of the Alleged Wrongful Acts

95.   In the alternative, the Defendants are not entitled to coverage under the Policy
      pursuant to Exclusion 2 of the Policy, which states:

      8.      Exclusions

      The Underwriters will not be liable for any claim:

      ***

                                    13
      Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 13 of 19
       2.     Based upon, arising from, or in any way involving an actual or alleged wrongful
              act or first party insured event of which any Insured had knowledge prior to the
              effective date of this Policy or prior to the effective date of a Policy issued by the
              Underwriters of which this Policy is a renewal.

96.    A “Wrongful Act” is defined, in relevant part, as follows:

       Wrongful act means:

       ***

       5.     With respect to Named Coverage X, a) a billing error; or b) a wrongful act, error
              or omission that gives rise to an EMTALA proceeding, Stark proceeding or
              HIPAA proceeding.

97.    The Policy provides the following definition of a “billing error”:

       Billing error means the actual or alleged presenting of, or causing or allowing to be
       presented, any erroneous billings by an Insured to a government health benefit payer or
       program or commercial health insurance payer, from which you seek and/or have
       received payment or reimbursement for medical services, items or products provided or
       prescribed by an Insured on your behalf.

98.    As summarized supra and as fully set forth in the Intervention Complaint, the
       Government alleges that Dr. Hedges and Dr. Wells had a long-standing
       pattern and practice of systematically defrauding Medicare by repeatedly and
       knowingly causing the submission of false claims and the creation of false
       statements or records at the Original Superiors, Superior-Hendersonville, and
       Superior-Rehab.

99.    According to the Government, Dr. Hedges’ and Dr. Wells’ scheme was
       perpetuated by arranging for their various management companies to “seize”
       control of the billing services of the Original Superiors, Superior-
       Hendersonville, and Superior-Rehab, including their Medicare billing services.

100.   Based on the factual allegations of the Intervention Complaint, as of the date
       the Policy Period commenced, Dr. Hedges and Dr. Wells, through Medical
       Fusion and WH Healthcare, were knowingly causing the submission of false
       claims and the creation of false statements or records at Superior-
       Hendersonville and Superior-Rehab.

101.   Dr. Hedges and Dr. Wells were the members/owners of Medical Fusion and
       had control of Medical Fusion. Thus their knowledge is imputed to be the
       knowledge of Medical Fusion.

102.   Accordingly, pursuant to Exclusion 2 of the Policy, there is no coverage for
       Hedges, Wells, or Medical Fusion regarding any of the conduct alleged or relief
       sought against them in the Intervention Complaint.


                                     14
       Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 14 of 19
       III. Medical Fusion, Dr. Hedges, and Dr. Wells’ Alleged Conduct was
       Intentional or Fraudulent

103.   Additionally, the Defendants are not entitled to indemnity pursuant to
       Exclusion 5 for intentional or fraudulent conduct, which states:

       8.      Exclusions

       The Underwriters will not be liable for any claim:

       ***

       5.      Based upon, arising from, or in any way involving any of the following committed
               by an Insured, whether acting alone or in collusion with other persons:

               a.      A willful, intentional, deliberate, malicious, fraudulent, dishonest, or
                       criminal act or omission;

               b.      Any intentional violation of law;

               c.      Any intentional violation of your privacy policy; or

               d.      The gaining of any profit or advantage to which an Insured is not legally
                       entitled.

               This exclusion does not apply to claim expenses or the Underwriters’ duty to
               defend any such claim until the conduct described in this exclusion has been
               established by a final adjudication in a judicial, administrative or alternative
               dispute proceeding, or by an Insured’s own admission in a proceeding or
               otherwise. The Underwriters will have the right to recover claim expenses
               incurred in defending any such claim from those parties found to have committed
               the conduct described in this exclusion.

               This exclusion does not apply to any Insured that did not commit, participate in,
               or have knowledge of any conduct described in this exclusion. This exclusion does
               not bar coverage for employee sabotage.

104.   The Government does not allege in the Intervention Complaint that the
       Medicare billing practices of Dr. Hedges, Dr. Wells, and Medical Fusion were
       accidental in any respect.

105.   Rather, the Government charges that Dr. Hedges, Dr. Wells, and Medical
       Fusion’s Medicare billing practices in the name of Superior-Hendersonville
       were willful, intentional, deliberate, fraudulent, and/or dishonest, acts or
       omissions, or intentional violations of law.

106.   The Government also charges that Dr. Hedges, Dr. Wells and Medical Fusion’s
       billing practice resulted in their gaining of profit or advantage to which they
       and Superior-Hendersonville were not legally entitled.



                                     15
       Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 15 of 19
107.   Accordingly, pursuant to Exclusion 5 of the Policy, there is no indemnity
       coverage for any of the conduct alleged in the Intervention Complaint, and
       Underwriters have the right to recover from Dr. Hedges, Dr. Wells and Medical
       Fusion all “claim expenses” incurred by Underwriters in defending this
       claim.

                        SECOND CLAIM FOR RELIEF
                28 U.S.C. § 2201 et seq.—Declaratory Judgment
                              (Rescission of Policy)

108.   The previous allegations are realleged and incorporated as if fully set forth
       herein.

109.   In addition or in the alternative to the First Claim for Relief, Underwriters are
       entitled to a declaration from this Court that the Policy is rescinded due to the
       intentional and fraudulent misrepresentations and/or due to material
       misrepresentations (regardless of intent) made in the Application for the
       Policy.

110.   In addition or in the alternative, Underwriters are entitled to declarations from
       this court that this Court declares the coverage under this Policy forfeited
       pursuant to Paragraph 27 of the Policy; or that coverage is null and void under
       the Policy due to breach of warranty of representations, pursuant to Paragraph
       26 of the Policy.

111.   On December 3, 2016, the following answers to the following questions were
       provided in the Application:

       After internal inquiry, have you or any member of your staff,
       or any person or entity for whom you perform billing services
       ever:

       25.    Been investigated or sanctioned by any local, state or federal
       government agency or private (commercial) payer regarding the
       delivery of health care services or reimbursement thereunder?
              Answer: No
       ***
       27.    Been:
              a)     Audited or investigated with regard to Medicare/Medicaid
       billing practices or utilization of Medicare/Medicaid services?
              b)     Been placed on prepayment review by any local, state, or
       federal government agency?
              c)     Been placed on prepayment review by any private
       (commercial payer)?
              Answer: No (to all three questions)
       ***

                                     16
       Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 16 of 19
       31.    Been accused of billing errors by any local, state or federal
       government agency or private (commercial) payer?
              Answer: No
       ***
       35.    Been aware of any facts, circumstances, situations, events or
       incidents that could result in a regulatory action, regulatory
       investigation or demand for restitution?
              Answer: No

   112.   One or more of the foregoing answers to the foregoing questions were
          materially false.

   113.   In addition to the language in the Application form pertaining to
          misrepresentations, the Policy states:

             26.    Warranty by the Named Insured

             a.    By acceptance of this Policy, the Named Insured agrees that the
             statements contained in the application and any supplemental
             materials submitted therewith are their agreements and
             representations, which are deemed material to the risk assumed by the
             Underwriters, and that this Policy is issued in reliance upon the truth
             thereof.

             b.    The misrepresentation or non-disclosure of any matter by the
             Named Insured or the Named Insured’s agent in the application of
             any supplemental materials submitted to the Underwriters will render
             the Policy null and void and relieve the Underwriters from all liability
             under this Policy.

             c.     The application and any supplemental materials submitted to
             the Underwriters are deemed incorporated into and made part of this
             Policy.

111. Wherefore, the Policy should be rendered null and void and the Underwriters
      should be relieved from all liability under this Policy.

114.   The Policy also contains a provision entitled “Forfeiture”:

             27.    Forfeiture

             Any action or failure to act by the Named Insured with the intent to
             defraud the Underwriters, or the material misrepresentation or non-
             disclosure of any material fact or claims by the Named Insured in the
             application or in any supplemental materials submitted to the
             Underwriters, will render this Policy null and void, and all coverage
             hereunder shall be forfeited.

                                     17
       Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 17 of 19
115.    The misrepresentations and/or non-disclosures in response to questions on the
        Application were made with in intent to defraud the Underwriters, and/or were
        material misrepresentations and/or non-disclosures (regardless of intent).

116.    Wherefore, this Court should declare the Policy forfeited pursuant to
        Paragraph 27 of the Policy.

117.    Rescission of the Policy is warranted due to the presence of material
        misrepresentations and/or non-disclosures, and/or rescission is warranted due
        to intentional and fraudulent misrepresentations and/or non-disclosures in the
        Application.

        WHEREFORE, the Underwriters respectfully request the following relief:

   1.      That the Court enter an order and judgment in favor of the Underwriters,
           and against the Defendants, declaring that the factual allegations
           contained in the Intervention Complaint do not trigger a duty to defend or
           indemnify the Defendants under the Policy, or otherwise trigger any
           coverage thereunder, as described further supra; and/or

   2.      That the Court enter an order and judgment in favor of the Underwriters,
           and against the Defendants, declaring that the Policy is rescinded; and/or

   3.      That the Court enter an order declaring the Policy to be null and void
           pursuant to Paragraph 26 of the Policy; and/or

   4.      That the Court declare coverage under the Policy to be forfeited pursuant
           to Paragraph 27 of the Policy; and/or

   5.      That the Court enter judgment against Dr. Wells, Dr. Hedges and Medical
           Fusion finding them jointly and severally liable to pay back to the
           Underwriters all claim expenses paid by Underwriters for the defense of
           the claims by Dr. Pitts and the Government.

   6.      That the Court tax the Defendants with the costs and reasonable attorneys’
           fees required by the Plaintiff to prosecute this action; and/or

   7.      That the Court enter any other relief the Court deems just and proper.

        This, the 10th day of February, 2020.

                                        s/ Bradley K. Overcash
                                        Bradley K. Overcash
                                        N.C. State Bar No.: 36978
                                        Daniel E. Peterson
                                        N.C. State Bar No.: 41521
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                                      18
        Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 18 of 19
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                              19
Case 1:20-cv-00041-MR-DCK Document 1 Filed 02/10/20 Page 19 of 19
